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                                                                                 6                                                                           FILED
                                                                                 7                                                                                               Nov 03 2020

                                                                                                                                                                               SUSANY. SOONG
                                                                                                                                                                          CLERK, U.S. DISTRICT COURT
                                                                                 8                                   UNITED STATES DISTRICT COURT                      NORTHERN DISTRICT OF CALIFORNIA
                                                                                                                                                                                SAN FRANCISCO


                                                                                 9             NORTHERN DISTRICT OF CALIFORNIA, SAN FRANCISCO DIVISION
                                                                                10
                                                                                                                                                      CV 20-7749 JSC
                                                                                11 JANE DOE,                                               Case No. 3:19-cv-03310-JSC
WOOD, SMITH, HENNING & BERMAN LLP


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                                                                                12                     Plaintiff,                          UBER TECHNOLOGIES, INC.’S THIRD-
                                       CONCORD, CALIFORNIA 94520-7982




                                                                                                                                           PARTY COMPLAINT
                                                                                13            v.
                                                Attorneys at Law




                                                                                                                                           DEMAND FOR JURY TRIAL
                                                                                14 UBER TECHNOLOGIES, INC., et al.
                                                                                                                                           The Hon. Jacqueline S. Corley
                                                                                15                     Defendant.
                                                                                                                                           Trial Date:             None Set
                                                                                16
                                                                                     UBER TECHNOLOGIES, INC.,
                                                                                17
                                                                                                       Third-Party Plaintiff,
                                                                                18
                                                                                              v.
                                                                                19
                                                                                     BRANDON SHERMAN,
                                                                                20
                                                                                                       Third-Party Defendant.
                                                                                21

                                                                                22

                                                                                23

                                                                                24            COMES NOW, Third-Party Plaintiff UBER TECHNOLOGIES, INC. (“Uber”), and for
                                                                                25 causes of action against Third-Party Defendant BRANDON SHERMAN (“Sherman”), an

                                                                                26 individual, complains and alleges as follows:

                                                                                27                                                   PARTIES
                                                                                28            1.       Uber is, and at all times relevant herein was, a business entity authorized to do

                                                                                     LEGAL:11009-0203/14628539.1                     -1-                    Case No. 3:19-cv-03310-JSC
                                                                                                               UBER TECHNOLOGIES, INC.’S THIRD-PARTY COMPLAINT
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                                                                                 1 business in the State of California.

                                                                                 2            2.       Uber is informed and believes and, based upon such information and belief, alleges

                                                                                 3 that at all times relevant herein, Sherman was an individual residing, and/or committing the

                                                                                 4 wrongful acts herein alleged, in the County of San Mateo, State of California.

                                                                                 5            3.       Uber is informed and believes and, based upon such information and belief, alleges

                                                                                 6 that Sherman is in some manner legally responsible for the acts and omissions alleged herein, and

                                                                                 7 in the underlying action at issue herein brought by Plaintiff Jane Doe (“Plaintiff”), discussed

                                                                                 8 further below, and actually and proximately caused and contributed to the various injuries and

                                                                                 9 damages alleged by Plaintiff in that action.

                                                                                10                                       JURISDICTION AND VENUE
                                                                                11            4.       The existing jurisdiction and venue of this case is proper for this Third-Party
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                                                                                12 Complaint pursuant to Rule 14 of the Federal Rules of Civil Procedure in that it asserts claims
                                       CONCORD, CALIFORNIA 94520-7982




                                                                                13 against Sherman, not currently a party to the action, who is liable to Uber for the claims being
                                                Attorneys at Law




                                                                                14 asserted against it by Plaintiff.

                                                                                15                                        GENERAL ALLEGATIONS
                                                                                16            5.       On June 12, 2019, Plaintiff filed the original complaint in this matter, entitled Jane

                                                                                17 Doe v. Uber Technologies, Inc., et al., in the United States District Court for the Northern District

                                                                                18 of California, San Francisco Division, Case No. 3:19-cv-03310-LSC (the “Underlying Action”).
                                                                                19            6.       In the Underlying Action, Plaintiff seeks damages and other relief based on an

                                                                                20 alleged sexual assault occurring on or about August 14, 2018, after she got into a car driven by

                                                                                21 Sherman because his car allegedly displayed Uber’s trade dress, namely, a decal that bore the

                                                                                22 word mark “UBER.” Plaintiff claims she mistakenly believed the car driven by Sherman was the

                                                                                23 Uber X ride her fiancé, who was not with Plaintiff, had summoned for her on his Uber App. As

                                                                                24 Plaintiff’s Complaint acknowledges, at the time of the assault, Sherman was not authorized by

                                                                                25 Uber to use its App, as months before the assault Uber suspended his right to use the Uber App.

                                                                                26            7.       A true and correct copy of the operative First Amended Complaint (“Complaint”)

                                                                                27 at issue in the Underlying Action is attached hereto as Exhibit "A" and incorporated herein by

                                                                                28 reference as though fully set forth herein. The Underlying Action is hereby referred to and

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                                                                                 1 incorporated by reference for the limited purposes of providing the background for this Third-

                                                                                 2 Party Complaint and for setting forth the nature and propriety of Uber’s claims against Sherman.

                                                                                 3            8.       As outlined in more detail in its other pleadings in this matter, Uber denies that it

                                                                                 4 was negligent, careless, or engaged in any other tortious or wrongful conduct, and further denies

                                                                                 5 that it is liable under any theory alleged in Plaintiffs' Complaint or under any theory whatsoever,

                                                                                 6 for the damages and/or injuries alleged by Plaintiff.

                                                                                 7            9.       Uber denies the allegations in Plaintiff's Complaint, and, without admitting to the

                                                                                 8 allegations contained therein, if it is found that Uber is liable for any alleged damage to Plaintiff,

                                                                                 9 then Uber is informed and believes, and based thereon alleges, that such damage was primarily

                                                                                10 and ultimately caused by the acts, breaches, and/or omissions of Sherman, whereas Uber’s acts, if

                                                                                11 any, were secondary, passive, or derivative in nature.
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                                                                                12            10.      Sherman conducted himself in an intentional, careless, reckless, criminal, and
                                       CONCORD, CALIFORNIA 94520-7982




                                                                                13 negligent manner so as to cause the incident alleged in Plaintiff's Complaint. As such, Uber
                                                Attorneys at Law




                                                                                14 pursues from Sherman indemnity and/or equitable contribution and/or reimbursement of defense

                                                                                15 fees and costs, and other relief, as detailed herein.

                                                                                16                                        FIRST CAUSE OF ACTION
                                                                                17                                            (Equitable Indemnity)
                                                                                18            11.      Uber refers to and incorporates herein by reference each and every allegation
                                                                                19 contained in the preceding paragraphs of this pleading as though fully set forth herein.

                                                                                20            12.      In equity and good conscience, if Plaintiff recovers against Uber, Uber is entitled to

                                                                                21 equitable indemnity, apportionment of liability, and contribution from Sherman according to his

                                                                                22 amount of fault in this matter, for the injuries and damages claimed by Plaintiff, by way of sums

                                                                                23 paid by settlement, or in the alternative, any judgment rendered against Uber in the action herein

                                                                                24 based upon Plaintiff's Complaint.

                                                                                25            13.      Uber expressly denies the allegations of the Complaint and any wrongdoing on its

                                                                                26 part. Should Uber nevertheless be found liable to Plaintiff on any of the claims asserted in the

                                                                                27 Complaint or any other alleged wrongdoings with respect to the allegations of the Complaint, the

                                                                                28 acts and/or omissions of Uber were passive and secondary, while those of Sherman were active,

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                                                                                 1 primary, and superseding.

                                                                                 2            14.      Thus, as a direct, proximate, and foreseeable result of the wrongdoing of Sherman,

                                                                                 3 Uber is entitled to total equitable indemnity from any and all liability adjudged against it.

                                                                                 4            15.      Moreover, as a direct, proximate and foreseeable result of the filing of the

                                                                                 5 Complaint, Uber has been compelled to incur attorneys’ fees, court costs, and the expense of this

                                                                                 6 Third-Party action, and Uber asserts that the same are or will be recoverable, in whole or in part,

                                                                                 7 as damages on this Third-Party Complaint against Sherman.

                                                                                 8            16.      Further, should Plaintiff recover any amount of damages against Uber by way of

                                                                                 9 judgment, settlement, or otherwise, then Uber, by reason of the foregoing and in equity and good

                                                                                10 conscience, is entitled to an equitable apportionment of the liability of Sherman, on a comparative

                                                                                11 fault basis and a judgment against Sherman accordingly under the doctrine of equitable indemnity.
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                                                                                12                                       SECOND CAUSE OF ACTION
                                       CONCORD, CALIFORNIA 94520-7982




                                                                                13                                                 (Contribution)
                                                Attorneys at Law




                                                                                14            17.      Uber refers to and incorporates herein by reference each and every allegation

                                                                                15 contained in the preceding paragraphs of this pleading as though fully set forth herein.

                                                                                16            18.      In the event that the trier of fact determines that Plaintiff is entitled to an award of

                                                                                17 damages against Uber, and that Sherman is not completely liable for the same, Uber is entitled to

                                                                                18 contribution (aka, partial indemnification) from Sherman, for that portion of the damages awarded
                                                                                19 that is attributable to the percentage of comparative fault or negligence that is assessed or

                                                                                20 assessable against Sherman, in addition to any other damages, costs, fees, or other losses suffered

                                                                                21 by Uber and attributable to Sherman.

                                                                                22                                        THIRD CAUSE OF ACTION
                                                                                23                                              (Declaratory Relief)
                                                                                24            19.      Uber refers to and incorporates herein by reference each and every allegation

                                                                                25 contained in the preceding paragraphs of this pleading as though fully set forth herein.

                                                                                26            20.      Uber herein asserts claims for relief against Sherman based on various legal and

                                                                                27 equitable theories.

                                                                                28            21.      Uber is informed and believes, and based thereon alleges, that it has suffered

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                                                                                 1 damages, losses, and other harm as a result of actions and/or inactions on the part of Sherman,

                                                                                 2 and/or as a result of his failure to comply with his legal and/or equitable obligations to Uber and/or

                                                                                 3 Plaintiff.

                                                                                 4            22.      Uber is informed and believes, and based thereon alleges, that a dispute has arisen

                                                                                 5 and an actual controversy now exists between Uber and Sherman, in that Uber contends that it is

                                                                                 6 entitled to indemnity, contribution, and/or other relief from Sherman, which Uber is informed and

                                                                                 7 believes is disputed by Sherman.

                                                                                 8            23.      Uber hereby seeks a Declaration by the Court as to the respective rights and duties

                                                                                 9 of Sherman and Uber with respect to the matters herein alleged, and a declaratory judgment in

                                                                                10 Uber’s favor as to any obligations by Sherman, including, without limitation, his duty to

                                                                                11 indemnify Uber and provide reimbursement of litigation expenses incurred herein by Uber.
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                                                                                12            24.      Uber further requests declaratory relief from this Court in the form of a judicial
                                       CONCORD, CALIFORNIA 94520-7982




                                                                                13 interpretation of the various equitable obligations alleged herein to be owed by Sherman to Uber.
                                                Attorneys at Law




                                                                                14                                           PRAYER FOR RELIEF
                                                                                15            WHEREFORE, Uber prays for judgment against Sherman as follows:

                                                                                16                                        FIRST CAUSE OF ACTION:
                                                                                17            1.       That Uber is entitled to equitable indemnity from Sherman;

                                                                                18                                      SECOND CAUSE OF ACTION:
                                                                                19            2.       That Uber is entitled to contribution from Sherman;

                                                                                20                                       THIRD CAUSE OF ACTION:
                                                                                21            3.       For a judgment declaring the rights, duties, obligations and liabilities of Uber and

                                                                                22 Sherman;

                                                                                23                                    AS TO ALL CAUSES OF ACTION:
                                                                                24            4.       For a judgment that Sherman be required to indemnify Uber from any loss,

                                                                                25 damage, costs, judgment, settlement, and expense, including, but not limited to, attorney’s fees

                                                                                26 and Court costs related to and/or connected with the claims asserted herein by Plaintiff;

                                                                                27            5.       For costs of suit incurred herein;

                                                                                28            6.       For attorney’s fees as legally permitted;

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                                                                                 1            7.       For such other and further relief as the Court may deem just and proper.

                                                                                 2                                       DEMAND FOR JURY TRIAL
                                                                                 3            Uber hereby demands a jury trial on its Third-Party Complaint.

                                                                                 4 DATED: June 5, 2020                            WOOD, SMITH, HENNING & BERMAN LLP

                                                                                 5

                                                                                 6
                                                                                                                                  By:        /s/STEVEN R. DISHAROON
                                                                                 7                                                           STEVEN R. DISHAROON
                                                                                                                                             MICHAEL A. VASQUEZ
                                                                                 8                                                      Attorneys for Uber Technologies, Inc., Rasier,
                                                                                                                                        LLC, and Rasier-CA, LLC
                                                                                 9

                                                                                10

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                                                Attorneys at Law




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                 EXHIBIT "A"
       Case
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 8
                                    UNITED STATES DISTRICT COURT
 9
         NORTHERN DISTRICT OF CALIFORNIA, SAN FRANCISCO DIVISION
10

11
   JANE DOE, an individual using a                           Case No. 19-cv-03310-JSC
12 pseudonym,
                                                             FIRST AMENDED COMPLAINT
13                                  Plaintiff,               FOR DAMAGES

14        v.                                                 DEMAND FOR JURY TRIAL

15 UBER TECHNOLOGIES, INC.,
   RASIER, LLC; RASIER CA, LLC,
16
                      Defendant.
17

18

19        Plaintiff Jane Doe, by and through undersigned counsel Walkup, Melodia,
20 Kelly & Schoenberger, A Professional Corporation, as her Complaint against

21 Defendant Uber Technologies, Inc., Rasier, LLC, and Rasier-CA, LLC, hereby alleges

22 as follows:

23                                                    PARTIES
24        1.       Jane Doe is a pseudonym and is not Plaintiff’s real name. With her
25 original complaint, Jane Doe submitted an application to the Court for an order

26 permitting her to use a pseudonym on the ground that anonymity is necessary to

27 prevent mental harm and to preserve privacy in a matter of a sensitive and highly

28 personal nature.

                                                         1
               FIRST AMENDED COMPLAINT FOR DAMAGES - Case No. 19-cv-03310-JSC
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                          1        2.     Plaintiff Jane Doe is an adult woman who is a citizen of Mexico.

                          2        3.     Defendant Uber Technologies, Inc. (“Uber Technologies”) is a Delaware

                          3 Corporation with its principal place of business in the City and County of San

                          4 Francisco, State of California.

                          5        4.     Defendants Rasier, LLC and Rasier-CA, LLC (collectively “Rasier”) are

                          6 Delaware Limited Liability Companies with their principal places of business in the

                          7 City and County of San Francisco, State of California.

                          8        5.     Defendants Uber Technologies, Inc., Rasier, LLC, and Rasier-CA, LLC

                          9 (collectively “Uber” the “Company” or “Defendants”) operate throughout the United
                       10 States and internationally in approximately 555 cities, including the City of San

                       11 Mateo in the County of San Mateo, State of California.

                       12
                                                        JURISDICTION AND VENUE
                       13

                       14          6.     The jurisdiction of this action arises under diversity of citizenship

                       15 pursuant to 28 U.S.C. § 1332. Plaintiff is a citizen of a foreign country. Defendants

                       16 are all citizens of California. The amount in controversy exceeds $75,000, exclusive of

                       17 interest and costs.

                       18          7.     The Court has personal jurisdiction over Defendants because

                       19 Defendants are headquartered in San Francisco, California and conduct their

                       20 business in California.

                       21          8.     Venue is proper as authorized pursuant to 28 U.S.C. § 1391(b)(1), as

                       22 Defendant Uber Technologies Inc. is headquartered in, conducts business in, and

                       23 resides in this district.

                       24                                FACTUAL ALLEGATIONS

                       25          9.     As recently as 2010, the general public considered it unreasonably

                       26 dangerous for a young woman to get into a strange man’s private car with the

                       27 expectation that he would drive her to a specific location and let her get out of his

                       28 car, unharmed. That would have been considered hitchhiking. A foreseeable risk of
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                          1 hitchhiking was the potential for sexual assault.

                          2        10.     If someone needed a ride, one approach that had been considered

                          3 reasonably safe for many decades as of 2010 was to hail a licensed taxi. For decades,

                          4 local authorities have heavily regulated taxi drivers and taxicabs to provide

                          5 safeguards and protections for prospective passengers against unscrupulous or

                          6 predatory drivers.

                          7        11.     For example, currently in the City and County of San Francisco, an

                          8 applicant to become a taxi driver must: submit fingerprints that are checked against

                          9 the California DOJ “RAP Sheet” database; pass a written exam; complete a driver
                       10 training course; provide a recent photograph; submit to an alcohol and drug test;

                       11 receive a negative result on the alcohol and drug test; authorize the city to obtain the

                       12 results of past alcohol and drug tests: notify the city whether he or she has previously

                       13 failed an alcohol or drug test; be “clean in dress in person”; be free of any condition

                       14 that might render the applicant unsafe to operate a motor vehicle; have no prior

                       15 convictions of a crime that would present a risk to public safety; be at least 21; and

                       16 speak, read, and write the English language. San Francisco Transportation Code §

                       17 1103(c). A permitted taxi driver must conspicuously display his or her permit on the

                       18 outside of his or her clothing at all times while operating a taxi and show that permit

                       19 to any peace officer upon request. The permit can be worn only by the driver to whom

                       20 it is issued. Id. at § 1108(a).

                       21          12.     San Francisco also regulates taxicabs to make sure they clearly stand

                       22 out, and are easily identified and tracked. Taxicabs must be painted to conform to an

                       23 approved color scheme and bear a city-issued medallion with an identifying number.

                       24 Id. at §§ 1102, 1108, 1113(d), 113(6). Every San Francisco taxicab must have the

                       25 following information displayed on the exterior of the vehicle: the vehicle number; the

                       26 words “San Francisco Taxicab”; a decal indicating a satisfactory vehicle inspection;

                       27 the name of the taxi company; and the medallion. Id. These safeguards make every

                       28 taxicab identifiable and trackable, and thus minimize the chances that a taxi driver
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                          1 would rob, assault, or take advantage of a passenger, or that someone might

                          2 masquerade as a taxi driver and victimize a passenger. These safeguards also make

                          3 it easier for law enforcement officers to apprehend anyone who victimizes a

                          4 passenger while driving a taxi.

                          5        13.     Beginning in 2011 with its launch of “Uber X,” Uber built a novel

                          6 “rideshare” industry. In order to build this industry, Uber had to both (1) change the

                          7 public’s attitude toward getting into a stranger’s private car such that there would be

                          8 demand for its rides, and (2) circumvent the taxi industry’s existing safety

                          9 regulations in order to rapidly recruit a fleet of non-professional drivers to meet this
                       10 demand. To say that Uber ultimately succeeded would be an understatement. On

                       11 May 9, 2019, an initial public offering valued Uber at $82.4 billion.

                       12          14.     In order to disrupt the public’s cautious attitude on the topic of getting
                       13 into a stranger’s private car, Uber spent many millions of dollars marketing and

                       14 promoting the concept that its non-professional Uber X “rideshare” drivers, driving

                       15 unregulated, non-distinctive personal cars, can be summoned with the “Uber App”

                       16 and trusted to transport people safely.

                       17          15.     In order to create a large and ready supply of drivers, Uber leapfrogged
                       18 over safety regulations and laws that govern the transportation industry, and also

                       19 failed to take and implement reasonable measures to protect rideshare passengers

                       20 from unscrupulous, unqualified and dangerous drivers. The application process to

                       21 become an Uber X driver is simple, fast, and designed to allow the Company to hire

                       22 as many drivers as possible while incurring minimal associated costs. The cost and

                       23 time savings, however, come at the expense of the safety of Uber X passengers,

                       24 especially female riders.

                       25          16.     In contrast to the local regulations that impose background checks,

                       26 tests, and permit requirements on taxi drivers, Uber instead invited almost anyone

                       27 with a driver’s license to become an Uber X driver. Uber even makes rental car

                       28 arrangements for those who do not own a car. To become an Uber X driver,
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                          1 individuals apply through Uber’s website.

                          2        17.     Uber generally outsources background checks of driver applicants to

                          3 third party vendors that do not perform stringent background checks. Those vendors

                          4 simply run potential drivers’ social security numbers through databases similar to

                          5 those held by private credit agencies, which only go back for a period of seven years

                          6 and do not capture all arrests and/or convictions. The background checks conducted

                          7 by private companies for Uber do not require fingerprinting for comparison against

                          8 Department of Justice and Federal Bureau of Investigation databases. Neither Uber

                          9 nor its third party vendors verify that the information provided by applicants is
                       10 accurate or complete. The turnaround time for an Uber background check is often

                       11 under 36 hours.

                       12          18.     Using traditional lobbying efforts as well as its own social media clout,
                       13 Uber lobbies state and local governments, including in California, to adopt its own

                       14 proposed “model” regulations, which allow it to conduct its own background checks,

                       15 instead of more stringent regulations like those used for taxi drivers. In Austin,

                       16 Texas, where regulators imposed fingerprint background checks, Uber punished the

                       17 regulators by pulling out of the city altogether.

                       18          19.     As a direct result of Uber’s lobbying efforts and social media campaigns,
                       19 the Company largely self-enforces hiring standards for its Uber X drivers.

                       20          20.     Uber is and has been aware that its security screening processes are

                       21 insufficient to prevent unsafe applicants from successfully registering as Uber X

                       22 drivers. Its inadequate background checks have been the subject of a number of

                       23 municipal lawsuits and fines.

                       24          21.     In 2015 the District Attorneys of San Francisco and Los Angeles filed a

                       25 complaint alleging that individuals who passed Uber’s security screening process and

                       26 were found driving for Uber had the following felony convictions: second degree

                       27 murder; lewd and lascivious acts against a child under the age of 14; sexual

                       28 exploitation of children; kidnapping for ransom with a firearm; assault with a
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                          1 firearm; grand theft; robber; identity theft; burglary; and taking a vehicle without

                          2 consent. In connection with the litigation, the San Francisco District Attorney called

                          3 background checks without fingerprinting “completely worthless.”

                          4        22.     Where cities and states (such as Houston and Maryland) perform their

                          5 own fingerprint-based background checks, numerous driver applicants approved by

                          6 Uber are ultimately rejected. In Maryland, nearly 15 percent of new rideshare

                          7 drivers are disqualified for failing the state’s background checks. In 2017, when

                          8 Massachusetts began running its own background checks on Uber and Lyft rideshare

                          9 drivers, the state rejected 20,000 out of 170,000 rideshare driver applications that
                       10 had been approved by the companies. Of those, 3,471 were rejected due to violent

                       11 crimes.

                       12          23.     In addition to relaxed driver background check standards, Uber also
                       13 operates with almost no standards to ensure that Uber X vehicles stand out and are

                       14 easily tracked. In contrast to the local regulations that impose color-scheme and

                       15 medallion requirements making each taxicab distinct and easily traced, Uber devised

                       16 a system whereby Uber vehicles are distinguished from other vehicles only by an

                       17 Uber decal that the Uber X driver places in the car’s window. Uber made its Uber

                       18 decals easy to obtain so that it could quickly recruit a large numbers of new Uber X

                       19 drivers, who would drive their own non-distinctive vehicles.

                       20          24.     Uber intends the Uber decal to reassure the prospective passenger:

                       21 “This is not just a random stranger’s car. It is an Uber X and it is safe to get in.”

                       22          25.     Uber owns several trademark registrations for “UBER” and several

                       23 Uber-based marks. It has used Uber as a trademark and trade name in connection

                       24 with goods and services since 2010. In opposing applications submitted by others to

                       25 the United States Patent and Trademark Office that contain some form of the word

                       26 “uber”, Uber has stated that through its “marketing, promotion, advertising, and

                       27 commercial activity, the public readily associates the UBER Marks and Names with

                       28 Uber and its goods and services. The UBER Marks and Names are thus valuable
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                          1 assets of Uber and symbols of its goodwill.” 1

                          2          26.     Uber knows that the general public understands the use of its UBER

                          3 decal on a vehicle to mean that the driver is working for Uber, and that Uber has

                          4 vetted the driver and is certifying that the driver is a safe driver who will provide a

                          5 safe ride. Further, Uber intends for the use of its UBER decal on a vehicle to signify

                          6 these things (that the driver is working for Uber, and that Uber certifies the driver

                          7 as a safe driver). Uber advertises and markets its trademark, decal, and safety record

                          8 in a manner designed to cause the public to believe these things.

                          9          27.     In opposing applications submitted by others to the United States
                       10 Patent and Trademark Office that contain some form of the word “uber”, Uber has

                       11 argued that allowing a person or company, which is not associated with Uber, to use

                       12 the word “uber” in a trademark name is “likely to falsely suggest a connection

                       13 between [the unaffiliated person or company] and Uber’s trade name and identity

                       14 because [a trademark containing the word “uber”] is confusingly similar to and would

                       15 be recognized as an approximation of the same. Even more, the fame and reputation

                       16 of Uber is of such a nature that a connection with Uber would be presumed when [the

                       17 unaffiliated person or company] uses [a trademark containing the word uber] in

                       18 connection with its services.” 2 Uber has further argued that “[a trademark containing

                       19 the word “uber”] uniquely and unmistakably points to Uber’s famous name and

                       20 identity.” 3

                       21            28.     Trademarks and service marks are recognized to function both as an

                       22

                       23
                              1 Notice of Opposition submitted by Uber Technologies, Inc. in In the matter of
                              Trademark App. Ser. No. 88/149861 at ¶ 13; see also Notice of Opposition submitted
                       24     by Uber Technologies, Inc. in In the matter of Trademark App. Ser. No. 87776977 at
                              ¶ 13 & Notice of Opposition submitted by Uber Technologies, Inc. in In the matter of
                       25     Trademark App. Ser. No. 87/490138 at ¶ 14.
                              2 Notice of Opposition filed by Uber Technologies, Inc. in In the matter of Trademark
                       26     App. Ser. No. 88/149861 at ¶ 15; see also Notice of Opposition submitted by Uber
                              Technologies, Inc. in In the matter of Trademark App. Ser. No. 87776977 at ¶ 15 &
                       27     Notice of Opposition submitted by Uber Technologies, Inc. in In the matter of
                              Trademark App. Ser. No. 87/490138 at ¶ 16.
                       28     3 Id.
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                          1 indication of origin or ownership and to serve as a guarantee of constancy of the

                          2 quality or other characteristics of a product or service.

                          3          29.     Uber presents vehicles bearing the UBER decal to customers as “a ride

                          4 you can trust.”

                          5          30.     Uber has stated on its website that:

                          6                         Wherever you are around the world, Uber is
                                                    committed to connecting you to the safest ride on the
                          7                         road. That means setting the strictest standards
                                                    possible, and then working hard to improve them
                          8                         every day. The specifics vary depending what local
                                                    governments allow, but within each city we operate,
                          9                         we aim to go above and beyond local requirements to
                                                    ensure your comfort and security – what we are
                       10                           doing in the US is an example of our standards
                                                    around the world.
                       11

                       12            31.     Uber has stated on its website that:
                       13                           From the moment you request a ride to the moment
                                                    you arrive, the Uber experience has been designed
                       14                           from the ground up with your safety in mind.
                       15            32.     Uber has actively fostered and successfully cultivated an image among
                       16 its customers of safety and superiority to public transportation and traditional taxis

                       17 – which is reflected in the very name of the Company itself. 4

                       18            33.     Until as recently as October 2014, Uber represented that “Every
                       19 ridesharing and livery driver is thoroughly screened through a rigorous

                       20 process we’ve developed using industry-leading standards. This includes a

                       21 three step criminal background screening for the U.S. – with country, federal

                       22 and multi-state checks that go back as far as the law allows –and ongoing

                       23 reviews of drivers’ motor vehicle records throughout their time on Uber.”

                       24            34.     Until at least June 2, 2015, Uber’s website stated: “Wherever you
                       25 are around the world, Uber is committed to connecting you to the safest ride on

                       26

                       27

                       28
                              4Dictionary.com defines “uber” as “designating a person or thing that exceeds the
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                              norms or limits of its kind or class.”
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                          1 the road. That means setting the strictest safety standards possible, then

                          2 working hard to improve them every day.” Uber’s blog also trumpeted: “We’ll

                          3 continue innovating, refining, and working diligently to ensure we’re doing

                          4 everything we can to make Uber the safest experience on the road.”

                          5         35.     Uber particularly markets itself as a safer transportation alternative for

                          6 women. Uber’s website and marketing contains numerous pictures of smiling women

                          7 entering and exiting vehicles, who are meant to appear “safe.” Five true and correct

                          8 examples of Uber’s marketing copy are reprinted below:

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                       12         36.     Uber intends the public to believe that a vehicle bearing an Uber decal
                       13 is a “ride you can trust,” and that its driver has passed the “strictest standards

                       14 possible” in terms of background checks.

                       15         37.     Uber uses its decal as the way it confers its reputation and its safety
                       16 certification upon a particular driver and ride.

                       17         38.     Uber’s advertising and marketing representations have been successful,
                       18 and at all relevant times members of the public, including Plaintiff Jane Doe, relied

                       19 on the Uber decal on a vehicle as signifying that the driver is working for Uber, the

                       20 trademark owner, and that the driver has been vetted and certified as safe by Uber.

                       21         39.     At all relevant times, Uber dispensed Uber decals, adorned with its
                       22 immediately recognizable name and/or trademarked symbol, liberally and with little

                       23 or no control.

                       24         40.     Uber even makes available a “temporary decal” for new drivers to print
                       25 at home. This decal is publicly available at the website

                       26 https://image.et.uber.com/lib/fe9112737763017e71/m/1/Uber-decal_print-at-home.png

                       27 as of June 10, 2019, and is accessed via a public link stating “Need a temporary

                       28 decal? Print one at home here.” There is no security whatsoever to prevent anyone
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                          1 from printing this decal and displaying it in any vehicle.

                          2        41.     At all relevant times, Uber did not even attempt to retrieve its Uber

                          3 decals from former Uber drivers who proved to be unsafe.

                          4        42.     In the San Francisco Bay Area alone, tens of thousands of cars bear

                          5 Uber decals. No one, not even Uber, knows how many vehicles display an Uber decal,

                          6 let alone which specific vehicles bear such a decal.

                          7        43.     At all relevant times, members of the public, including Plaintiff Jane

                          8 Doe, did not know that Uber exercises little control over its Uber decals, nor that the

                          9 presence of an Uber decal on a vehicle is essentially meaningless.
                       10          44.     Uber knew or should have known that the public was unaware of its lax
                       11 control over its decals. Nevertheless, at all relevant times, Uber took no steps to

                       12 inform the public of its lax control, or of the fact that the decal was unreliable as an

                       13 indicator of employment status or safety.

                       14          45.     Uber has known for years that criminals and sexual predators take
                       15 advantage of its weak driver screening process and uncontrolled Uber decal system.

                       16 Soon after launching Uber X, Uber began receiving reports of victims who were

                       17 assaulted, raped, robbed, or otherwise victimized after they willingly got into a car

                       18 because it displayed an Uber decal, including instances in which the assailant-driver

                       19 had not been hailed via the Uber App to pick up the victim-passenger. On December

                       20 5, 2019, Uber released a report confirming that it received reports of the following

                       21 occurrences during Uber rides in the year 2018 alone: 235 rapes, 280 attempted

                       22 rapes, 1,560 groping incidents, 376 instances of unwanted kissing the breast,

                       23 buttocks, or mouth, and 594 reports of unwanted kissing to another body party. It

                       24 reported receiving a total of 5,981 reports of sexual assault between 201 and 2018.

                       25          46.     In sum, assaults and rape are a foreseeable risk of Uber’s lax driver

                       26 screening process and Uber’s uncontrolled distribution of Uber decals. Despite these

                       27 known deficiencies, Uber holds its brand and logo out to the public as representing

                       28 safety.
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                          1        47.     Uber is a recognized technology innovator, but it nevertheless has failed

                          2 to take technically feasible and reasonable measures to diminish and guard against

                          3 this foreseeable harm to passengers caused by its uncontrolled distribution of Uber

                          4 decals, because such safety measures would not only have added operating costs, but

                          5 would have also hindered Uber’s goal of recruiting as many Uber X drivers, driving

                          6 their personal, non-distinctive vehicles, as possible in advance of Uber’s IPO. Indeed,

                          7 Uber has actively lobbied and instigated social media campaigns against laws that

                          8 would regulate rideshare signage to protect against this very type of harm.

                          9        48.     There are some features built into the Uber App that, when used, can
                       10 make the rides safer. When a person is riding in an Uber X vehicle summoned using

                       11 that person’s own Uber App, there are in-app features that allow the passenger to

                       12 monitor the driver’s location as the driver approaches the point of pickup. Under

                       13 such circumstances, the passenger can also view, in the App, the make, model, and

                       14 color of vehicle, as well as the license plate number and the driver’s photo. Once the

                       15 trip begins, there is a “panic button” in the app, as well as an option to “share trip

                       16 status,” and features that allow the passenger (or police, if necessary) to monitor the

                       17 driver’s location.

                       18          49.     Uber is and at all relevant times has been aware that its customers
                       19 sometime summon Uber X cars for other people, and that under these circumstances

                       20 the passenger does not typically have access to the App’s features.

                       21          50.     Uber tracks the location of those who use its App, and Uber has the

                       22 technological capability to block ride requests that attempt to summon a driver to

                       23 pick up a passenger at a location remote from that of the person using the App.

                       24          51.     Uber not only permits its customers to summon rides for others by

                       25 failing to block such requests, but it encourages them to do so and assures them that

                       26 this is a safe and responsible practice. For example, Uber’s website says, “Save the

                       27 day. Grandma doesn’t have a smartphone? Mom needs a ride from the airport? Your

                       28 friend got a little too happy at happy hour? Send them a reliable ride to their
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                          1 destination. It’s always appreciated.” https://www.uber.com/ride/how-uber-

                          2 works/request-for-a-guest/

                          3        52.     By encouraging its customers to summon rides for others, and making

                          4 this an acceptable way to use its service, Uber further emphasizes and advertises the

                          5 rider’s reliance on the Uber decal as the means to determine that a given ride is a

                          6 provided by a safe, vetted, reliable Uber driver.

                          7        53.     Uber intentionally chose to expand its market share to include those

                          8 riders who do not have a working smart phone available, even though it knew that by

                          9 doing so it would be depriving those riders of the few safety mechanisms it otherwise
                       10 provides, and would cause those riders to rely on its unsafe decal system.

                       11          54.     Prior to Ms. Doe’s incident, Uber intentionally chose not to advertise to
                       12 riders that, in order to protect themselves from dangerous drivers, they should

                       13 always verify the license plate and driver’s appearance, using the App. Uber made

                       14 this choice in order to increase and retain its market share.

                       15          55.     Uber has at all relevant times failed to communicate to its customers
                       16 how lax its driver background check system is, how easy it is to acquire an Uber

                       17 decal, and how easy it is to impersonate an Uber X driver. In withholding this

                       18 information from its customers, Uber knowingly caused its customers to rely on the

                       19 Uber decals as signaling that a driver has been vetted by Uber and is trustworthy. In

                       20 withholding this information, Uber has also created the impression that the Uber

                       21 App’s features that identify the driver and vehicle are there for convenience (to help

                       22 riders find the correct driver) as opposed to safety (to help riders find a safe driver).

                       23          56.     On August 14, 2018, Plaintiff Jane Doe, a young woman, voluntarily got

                       24 into the back seat of a strange man’s car. That man (the “Assailant”) activated the

                       25 childproof locks on the car’s rear doors, trapping her inside. He drove to a remote

                       26 location, where he raped and partially strangled Jane Doe. The Assailant then

                       27 started driving to another location, where he planned to assault Jane Doe again and

                       28 probably kill her, but she escaped and was rescued by a passing motorist.
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                          1         57.     The Assailant fled, but was identified and captured weeks later, only

                          2 because the San Mateo Police Department conducted an exhaustive and superb

                          3 investigation. As of the time of this complaint, the Assailant sits in jail and faces

                          4 criminal charges that could lead to imprisonment for life.

                          5         58.     Jane Doe is not from the United States. She and her fiancé are from

                          6 Mexico. Her fiancé had business in the Bay Area in the middle of August 2018. She

                          7 flew to the region to spend a few days with him for a mini-vacation. It was in the

                          8 middle of this trip, August 14, 2018, that the assault occurred.

                          9         59.     In the early evening of August 14, 2018, Jane Doe was at a shopping
                       10 mall in San Mateo County, California. She wanted to return to the nearby hotel at

                       11 which she and her fiancé were staying. Her own smartphone was running low on

                       12 power. She therefore texted her fiancé, who was elsewhere, and asked that he use his

                       13 Uber App to summon an Uber X ride for her. Her fiancé complied with her request.

                       14 As described above, using the Uber App to summon a ride for someone else is a

                       15 practice that Uber allows and encourages.

                       16           60.     There was an Uber decal on the windshield of a car that showed up at
                       17 the location at which Jane Doe expected to be picked up. Jane Doe, whose primary

                       18 language is not English, got into that car only because it had an Uber decal in the

                       19 window and she believed, perhaps mistakenly, that the driver said her boyfriend’s

                       20 name when she neared the car.

                       21           61.     After Jane Doe overheard the driver say something and after she got

                       22 into the back of the car, the driver looked in his rearview mirror and said “wow.” On

                       23 information and belief, before Jane Doe got into his vehicle, the driver did not know

                       24 that Jane Doe was at the mall, was unaware that she was about to enter his car, and

                       25 had not yet formed an intent to kidnap, assault, or rape her or anyone else. The

                       26 driver slowed down outside the mall for unknown reasons. Because he appeared to be

                       27 working for Uber, Jane Doe got into his car. On information and belief, when he

                       28 looked in his rearview mirror, he said “wow” because he was pleased that an
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                          1 attractive woman had gotten into his car, alone. On information and belief, this

                          2 excited the driver and caused him to form a desire and intent to kidnap and then

                          3 assault Ms. Doe.

                          4        62.     In sum, Jane Doe willingly got into the back of this strange man’s car

                          5 because she believed that it was an Uber X rideshare and that it was safe to do so. As

                          6 alleged above, Uber purposefully disrupted and changed the public’s attitudes about

                          7 riding in a stranger’s private car, and it aggressively marketed the concept that it is

                          8 safe for a young woman to get into an Uber X car under the circumstances presented

                          9 to Jane Doe on the evening of August 14, 2018.
                       10          63.     Months before Jane Doe was assaulted, Uber learned that the Assailant
                       11 was a menace to women. He was, at that time, an Uber X driver, authorized by Uber

                       12 to use the Uber App. On or about June 8, 2018, a woman reported to the Company

                       13 that the Assailant behaved disturbingly while giving her an Uber X ride. Uber

                       14 “investigated” her complaint by interviewing the Assailant over the telephone. He

                       15 admitted to Uber that he drove the passenger off her “route”, flirted with her, and

                       16 drove her to a “horse stable,” ostensibly so they could “talk.”

                       17          64.     Uber did suspend the Assailant’s access to the Uber App after
                       18 interviewing that woman and the Assailant, but the Company did nothing more than

                       19 suspend access. It did not attempt to take back the Uber decal on his car or warn

                       20 others about him. Upon the Assailant’s arrest months later for his terrifying attack

                       21 on Jane Doe, police observed an Uber decal on his car and found numerous Uber

                       22 decals in the Assailant’s possession.

                       23          65.     Indeed, Uber was unable to put the genie it had created back in the

                       24 bottle. Uber had disseminated tens of thousands of Uber decals in the Bay Area alone

                       25 with no way of tracking them, let alone retrieving them from men like the Assailant

                       26 in this case, whom Uber knew, or had reason to suspect, were dangerous sexual

                       27 predators.

                       28          66.     Upon learning of another woman’s complaint against its driver, Uber
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                          1 did nothing to notify its main competitor, Lyft, of the Assailant’s concerning behavior

                          2 even though Uber was aware that many of its drivers concurrently drive for Lyft. As

                          3 a result, the Assailant was continuing to offer rides through Lyft up until and even

                          4 after he assaulted Plaintiff Jane Doe.

                          5        67.     It turns out that the Assailant had a significant criminal history that

                          6 predated his driving for Uber, including convictions/arrests for driving under the

                          7 influence of alcohol, driving on a suspended license, being under the influence of a

                          8 controlled substance, possession of a controlled substance, vehicle theft, vandalism,

                          9 assault/battery, and domestic violence. Nevertheless, Uber: “passed” him after a
                       10 purported background check; provided him with Uber decals; gave him access to the

                       11 Uber App; and permitted him to pick up Uber X passengers.

                       12          68.     Jane Doe is just one victim of Uber’s lax rideshare system that so easily
                       13 allows a predator to become an Uber X driver, or to masquerade as an Uber X driver

                       14 even if he no longer has access to or is not using the Uber App.

                       15          69.     The attack on Jane Doe and other similar assaults by men who
                       16 appeared to be rideshare drivers received significant public attention just before

                       17 Uber’s planned IPO. Rather than changing its ineffectual driver-vetting process and

                       18 uncontrolled Uber decal scheme to more time-consuming and costly but safer

                       19 systems, Uber instead responded to the negative publicity by blaming the

                       20 victim-passenger. Uber also tried to shift the burden to the passenger to check and

                       21 vet the Uber X driver who picks her up. On or about April 18, 2019, Uber rolled out

                       22 new “safety features” (nothing more than text message prompts to passengers who

                       23 are waiting for their Uber X to arrive). At that same time Tony West, Uber’s chief

                       24 legal and security officer, said, “It’s become sort of second nature whenever we get

                       25 into a car to buckle up. It has to be second nature before you get into a car to ask,

                       26 ‘Hey, who are you here to pick up?’” https://www.nbcnews.com/news/us-news/uber-

                       27 unveils-new-safety-measures-wake-college-student-s-murder-n995611 For Plaintiff

                       28 Jane Doe and many other past victims, this “fatherly advice” is too late. For the
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                          1 future passenger-victims, this will be too little. Other Uber X passengers will get into

                          2 cars bearing Uber decals without cross-examining the driver for a variety of

                          3 foreseeable reasons, e.g., hearing impairment, language barrier, intoxication,

                          4 youthful carelessness, residual trust in the brand Uber cultivated, or because they

                          5 heard the driver do or say something that they mistakenly interpret as indicating he

                          6 is the correct driver. Under Uber’s current and flawed systems, the type of harm that

                          7 befell Plaintiff Jane Doe will happen over and over again.

                          8        70.     Uber purposefully made an end run around transportation safety laws

                          9 and regulations when it launched Uber X, such as those that regulate the taxi
                       10 industry. Uber failed to respond when the safety flaws in its Uber X rideshare

                       11 system, described above, came to the Company’s attention. The Company could have

                       12 implemented reasonable and feasible remedial measures to prevent and guard

                       13 against such incidents. Uber instead chose profit (getting as many Uber drivers and

                       14 riders on the road as soon as possible in advance of its IPO) over safety

                       15 (implementing reasonable safeguards that would have added time and increased

                       16 costs). Such conduct is despicable and demonstrates a conscious disregard of the

                       17 safety and lives of prospective Uber X passengers like Plaintiff Jane Doe.

                       18
                                                          FIRST CAUSE OF ACTION
                       19
                                            (FALSE IMPRISONMENT BY OSTENSIBLE AGENT)
                       20

                       21          71.     Plaintiff alleges and reasserts all the preceding paragraphs as if fully

                       22 set forth herein.

                       23          72.     Uber intentionally or carelessly created the impression that the man

                       24 who assaulted, battered and falsely imprisoned Jane Doe was Uber’s employee or

                       25 agent.

                       26          73.      Jane Doe reasonably believed that the Assailant was Uber’s employee

                       27 or agent and therefore got into his vehicle.

                       28          74.     As a result of Jane Doe getting into his vehicle, on her reliance on his
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                          1 appearance of agency, Assailant formed the desire and intent to kidnap Jane Doe.

                          2        75.     Jane Doe was falsely imprisoned (kidnapped) because she reasonably

                          3 relied on her belief.

                          4        76.     As a direct and proximate result of the aforementioned conduct, Jane

                          5 Doe has sustained and will sustain physical pain, mental suffering, loss of enjoyment

                          6 of life, anxiety, humiliation, and emotional distress.

                          7        77.     As a direct and proximate result of the aforementioned conduct, Jane

                          8 Doe has incurred economic damages, including lost past and future income, lost

                          9 earning capacity, and past and future medical expenses.
                       10          78.     Accordingly, Jane Doe is entitled to recovery against Uber in an amount
                       11 to be determined at trial.

                       12                               SECOND CAUSE OF ACTION

                       13                  (ASSAULT AND BATTERY BY OSTENSIBLE AGENT)

                       14          79.     Plaintiff alleges and reasserts all the preceding paragraphs as if fully

                       15 set forth herein.

                       16          80.     Uber intentionally or carelessly created the impression that the man

                       17 who assaulted and battered Jane Doe was Uber’s employee or agent.

                       18          81.      Jane Doe reasonably believed that the Assailant was Uber’s employee

                       19 or agent and therefore got into his vehicle.

                       20          82.     As a result of Jane Doe getting into his vehicle, on her reliance on his

                       21 appearance of agency, Assailant formed the desire and intent to assault, batter, and

                       22 rape Jane Doe.

                       23          83.     Jane Doe was falsely imprisoned (kidnapped) and raped because she

                       24 reasonably relied on her belief.

                       25          84.     As a direct and proximate result of the aforementioned conduct, Jane

                       26 Doe has sustained and will sustain physical pain, mental suffering, loss of enjoyment

                       27 of life, anxiety, humiliation, and emotional distress.

                       28          85.     As a direct and proximate result of the aforementioned conduct, Jane
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                          1 Doe has incurred economic damages, including lost past and future income, lost

                          2 earning capacity, and past and future medical expenses.

                          3        86.     Accordingly, Jane Doe is entitled to recovery against Uber in an amount

                          4 to be determined at trial.

                          5
                                                          THIRD CAUSE OF ACTION
                          6
                                                (BREACH OF THE DUTY OF UTMOST CARE)
                          7

                          8        87.     Plaintiff alleges and reasserts all of the preceding paragraphs as if fully

                          9 set forth herein.
                       10          88.     Uber was at all relevant times in the business of transporting the

                       11 general public for profit, and held itself out to the public generally and indifferently

                       12 for that purpose.

                       13          89.     Uber at all relevant times advertised its services to the general public.

                       14          90.     Uber at all relevant times charged standardized fees for its services,

                       15 which were not separately negotiated with each passenger.

                       16          91.     In requesting that her fiancé summon an Uber ride for her, Jane Doe

                       17 intended to become an Uber passenger.

                       18          92.     In encouraging customers to summon rides for others, and in accepting

                       19 the ride request from Jane Doe’s fiancé for a location Uber knew was remote from his

                       20 location and thus must be for a person other than himself, Uber accepted Jane Doe as

                       21 a passenger.

                       22          93.     In relying on Uber to send a driver to her location, and to provide trade

                       23 dress visually identifying its driver, Jane Doe placed herself under Uber’s control.

                       24          94.     Jane Doe went to the location designated as the site of departure at the

                       25 appropriate time in an attempt to “board” her Uber ride using the manner and

                       26 process prescribed by Uber.

                       27          95.      California Civil Code § 2100 thus obligated Uber to “use the utmost

                       28 care and diligence for” Jane Doe’s safe carriage, to “provide everything necessary for
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                          1 that purpose,” and to “exercise to that end a reasonable degree of skill,” including

                          2 with respect to providing a safe place and manner for Jane Doe to locate her driver,

                          3 as well as providing a safe ride until she disembarked in a safe location.

                          4        96.     Uber negligently, and with gross negligence and recklessness, breached

                          5 the duty of utmost care that it owed to Jane Doe in that it:

                          6                a. Undertook to provide riders, including Jane Doe, with a process and

                          7                   set of tools for obtaining a safe ride, but negligently established an

                          8                   unsafe process and unsafe set of tools, placing such riders at risk.

                          9                b. Through its advertising, marketing, statements, processes, tools, and
                       10                     silences, negligently held out drivers whose vehicles bore the UBER
                       11                     decal as safe, vetted drivers working for Uber, whom Uber was
                       12                     recommending and endorsing to its riders.
                       13                  c. Negligently created the appearance that it was recommending and
                       14                     endorsing the Assailant, including by (1) making the UBER decal
                       15                     seem a reliable indicator of safety, (2) failing to secure its UBER
                       16                     decals generally, (3) providing UBER decals to the driver, and (4)
                       17                     failing to specifically recall its UBER decals from the driver once he
                       18                     proved to be dangerous.
                       19                  d. Failing to provide her with a safe process for entering the correct

                       20                     vehicle.

                       21          97.     As a direct and proximate result of the aforementioned conduct and

                       22 breach of duty, Jane Does has sustained and will sustain physical pain, mental

                       23 suffering, loss of enjoyment of life, anxiety, humiliation, and emotional distress.

                       24          98.     As a direct and proximate result of the aforementioned conduct and

                       25 breach of duty, Jane Doe has incurred economic damages, including lost past and

                       26 future income, lost earning capacity, and past and future medical expenses.

                       27          99.     Accordingly, Jane Doe is entitled to recovery against Uber in an amount

                       28 to be determined at trial.
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                          1                               FOURTH CAUSE OF ACTION

                          2                                        (NEGLIGENCE)

                          3         100.   Plaintiff alleges and reasserts all of the preceding paragraphs as if fully

                          4 set forth herein.

                          5         101.   At all relevant times, Uber had a special relationship with Plaintiff Jane

                          6 Doe in that it held itself out as offering safe rides to the public, and it accepted her

                          7 ride request, agreed to provide her with a safe ride to her destination.

                          8         102.   Uber undertook to provide to Plaintiff Jane Doe a safe ride to her

                          9 destination. It undertook to provide her with a secure and safe process for obtaining
                       10 a safe ride. It undertook to recommend, certify, and identify for her a safe driver

                       11 whom she could trust.

                       12           103.   Jane Doe relied on Uber to provide her with a safe ride, to certify a safe
                       13 driver, and to provide her with a safe process matching her with the safe ride. She

                       14 thereby entrusted herself to Uber’s care, and allowed Uber to take charge of her for

                       15 purposes of providing a safe ride to her destination. She gave up her normal power

                       16 and tools of self-protection (for example, not getting into a stranger’s car) and relied

                       17 on Uber’s process, recommendation, and certification.

                       18           104.   Uber negligently, and with gross negligence and recklessness, breached
                       19 the duty of care that it owed to Jane Doe in that it:

                       20                  a. Undertook to provide riders, including Jane Doe, with a process and

                       21                       set of tools for obtaining a safe ride, but instead negligently,

                       22                       recklessly, and knowingly established an unsafe process and unsafe

                       23                       set of tools, placing such riders at risk.

                       24                  b. Through its advertising, marketing, statements, processes, tools, and

                       25                       silences, negligently, recklessly, and knowingly held out drivers

                       26                       whose vehicles bore the UBER decal as safe, vetted drivers working

                       27                       for Uber, whom Uber was recommending, certifying, and endorsing

                       28                       to its riders as safe and trustworthy.
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                          1               c. Negligently, recklessly, and knowingly created the appearance that

                          2                  it was recommending and endorsing the Assailant, including by (1)

                          3                  making the UBER decal seem a reliable indicator of safety, (2) failing

                          4                  to secure its UBER decals generally, (3) providing UBER decals to

                          5                  the driver, and (4) failing to specifically recall its UBER decals from

                          6                  the driver once he proved to be dangerous.

                          7        105.   By virtue of the aforementioned acts, omissions, and breaches, Uber

                          8 exposed Jane Doe to an unreasonable risk of harm, including the foreseeable harm of

                          9 a kidnapping and/or assault.
                       10          106.   As a direct and proximate result of the aforementioned conduct and
                       11 breach of duty, Jane Does has sustained and will sustain physical pain, mental

                       12 suffering, loss of enjoyment of life, anxiety, humiliation, and emotional distress.

                       13          107.   As a direct and proximate result of the aforementioned conduct and
                       14 breach of duty, Jane Doe has incurred economic damages, including lost past and

                       15 future income, lost earning capacity, and past and future medical expenses.

                       16          Accordingly, Jane Doe is entitled to recovery against Uber in an amount to be
                       17 determined at trial.

                       18                                  PRAYER FOR RELIEF

                       19          A.     For noneconomic damages according to proof at trial;

                       20          B      For economic damages according to proof at trial;

                       21          C.     For costs of suit and attorneys’ fees to the fullest extent permitted by

                       22 law;

                       23          D.     For pre-judgment and post-judgment interest according to law;

                       24          E.     For punitive and exemplary damages in an amount that is sufficient to

                       25 punish Uber and deter it and others from engaging in similar conduct in the future;

                       26          F.     For such other and further relief as the Court may deem proper.

                       27

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                                                            By:         /s/ Sara M. Peters
                          4                                       MATTHEW D. DAVIS
                                                                  SARA M. PETERS
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                                                                  ANDREW P. McDEVITT
                          6                                       Attorneys for Plaintiff Jane Doe

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                          1
                                                         DEMAND FOR JURY TRIAL
                          2
                                   Plaintiff hereby demands a jury trial.
                          3
                              Dated: December 19, 2019         W ALKUP , M ELODIA , K ELLY & S CHOENBERGER
                          4

                          5

                          6                                    By:         /s/ Sara M. Peters
                                                                     MATTHEW D. DAVIS
                          7                                          SARA M. PETERS
                          8                                          ANDREW P. McDEVITT
                                                                     Attorneys for Plaintiff Jane Doe
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